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Attorne s for Defendants and Counterclairnants
RUBE GARCLA ADVANCED ENVIRONMENTAL GROUP, LLC, and
ADVANCED CLEANUP TECHNOLOGIES, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRIC_T OF CALIFORNIA

PACIFIC MARITIME VFREIGHT, INC. Case No. 18-cv-09548-RGK-PJW

d/b/a PACIFIC TUGBOAT SERVICE,

IN 'ADMIRALTY
Plaintiff,

vS, VERIFIED COUNTERCLAIM

FOR:

1) Violations Pursuant to Lanham
Act 15 U.S.C. 1125 § 43(a);

2) Viplations Pursuant to
California Business &
Professions Code § 17200 et seq.

3) Intentional Interference with
Contractual Relations

4) Intentional Interference with
Prospective Economic Relations

Defendants. 5) Negligent Interference with
‘ Prospective Economic Relations;

6) Conversion;
7) Trespass to Chattels;
8) Unjust Enrichment
9) Enforcement of Maritime Lien;
10) Petition for Possession of

Maritime Property '

BARGE»AMECS 1 (a/k`/a “TIDEMAR”)
(USCG No. 507460 IMO # 976) her `
tackle, furnishings, equipment, letureS,
and apparel, In Rem; and RUBEN
GARCIA, an Individual, ADVANCED
EN_VIRONMENTAL GROUP, LLC, and
ADVANCED CLEANUP
TECHNOLOGIES, INC., In PerSonam,

 

RUBEN GARCIA, an Individual,
ADVANCED ENVIR()NMEN.TAL
GROUP, LLC, and ADVANCED '
CLEANUP TECHNOLOGIES, INC.

 

Countérclaimants,

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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAINIANTS RUBEN GARClA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

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VS.

BARGE Al\/lECS 1 (a/k/a “TIDEMAR”)
(USCG No. 507460 IMO # 976) her
tackle, furnishings, equipment, fixtures,
and apparel, In Rem; and PACIFIC
MARITIME FREIGHT, INC, d/_b/a
PACIFIC TUGBOAT SERVICE

 

 

Defendants/Counterclaimants, Ruben Garcia, Advanced Enviromnental Group,
LLC (“AEG”), and Advanced Cleanup Technologies, Inc. (“ACTI”) (collectively,
"Defendants/Counterclaimants”) allege the following, based on information and belief:

JURISDICTION »AND VENUE

1. This Court has jurisdiction over the subject matter of this action under 28
U.S.C. §§ 1331 and 1333, and .15 U.S.C. § 1121. . This Court has supplemental
jurisdiction over the common law claims pursuant to 28 U.S.C. § 1367.

2. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b) because
PTS is located in this District.

3. ' This is an admiralty and maritime claim within the meaning of F ederal Rule
of Civil Procedure 9(h) and Supplemental Rule D of the Supplemental Rules for
Admiralty and Maritime Claims of the Federal Rules .of Civil Procedure.

PARTIES
4. Defendant/Counterclaimant Ruben Garcia is a resident of California, and
President and CEO of AEG and ACTI.
5. Defendant/Counterclaimant AEG is a California limited liability company

With its principal place of business at 111 W. Ocean Blvd., Suite 1550, Long Beach,
California 90802.

6. Defendant/Counterclaimant ACTI is a California corporation With its
principal place of business at lll W. Ocean Blvd., Suite 1550, Long Beach, California
90802.`

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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAHV[ANTS RUBEN GARCIA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

 

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7. Plaintiff/Counter-Defendant PTS is a California corporation with its
principal place office located at 1444 Cesar E. Chavez Parkway, San Diego, CA 92113.
8. Defendant/Counter-Defendant_ BARGE AMECS 1 (a/k/a “TIDEMAR)
(USCG No. 507460 IMO # 976) is a non-propelled 641 gross registered ton barge owned
by PTS, and currently Within this Central District of California.
FACTUAL BACKGROUND AND GENERAL ALLEGATI()NS

9. In or about November 2018, PTS caused to be arrested the in rem Defendant
t_o this lawsuit, BARGE AMECS 1 (a/k/a “TIDEMAR”) (USCG No. 507460 IMO # 976)
her tackle, furnishings, equipment, fixtures, and apparel.

v10. Defendants/Counterclaimants do not dispute PTS is the documented owner
of BARGE AMECS 1 (a/k/a “TIDEMAR”) (USCG No. 507460 IMO # 976) (“Barge”).
However, PTS does not own certain equipment stationed thereo'n, the value of which
greatly exceeds the value the Barge, as set forth, infra.

11. Defendants/Counterclaimants own certain proprietary emissions control
technology (“AMECS”), Which is approved by the California Air Resources Board
(“CARB”) to capture and treat the exhaust emissions from large oceangoing cargo
vessels berthed in the Los Angeles and Long Beach harbors. AMECS assists vessel
owners to meet stringent emissions requirements, the non-compliance of Which results
in costly fines to vessel owners.

12. AMECS Was, at`all relevant times, and is senn-permanently affixed to the
Barge.

13. In or about February 2014, Defendants/Counterclaimants paid
approximately $1 18,348. 12 _for structural and non-structural improvements to the Barge.

v 14. The February 2014 improvements permitted the Barge to adequately house
AMECS and facilitate its use.
, 15. Thereafter, in or about March 2014, Defendants/Counterclaimants installed
AMECS on the Barge.

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VERIFIED COUNTERCLAlM OF DEFENDANTS/COUNTERCLA]l\/IANTS RUBEN GARCIA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

 

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1'6. Prior to installing AMECS on the Barge, the Barge Was Valued at
approximately $1'50,000.

17. After the February 2014 structural and non-structural improvements to_the
Barge, for which Defendants/Counterclaimants paid in full, the Barge Was valued at
approximately _$265,000., The approximate $265,000 post-improvements value of the
Barge does not account for the value of AMECS, which greatly exceeds the value of the
Barge.

18. AMECS is currently valued in excess of $10,000,000.

19. In or about March 2014, Defendants/Counterclaimants and PTS entered a
charter agreement for Defendants/Counterclaimants’ use of the Barge. At that time, and
currently, PTS . Was the documented owner of the Barge, and
Defendants/Counterclaimants owned AMECS installed thereon.

20. The agreements comprising the charter for the Barge included a non-
compete agreement, whereby PTS agreed to not use proprietary information associated
With AMECS to compete With Defendants/Counterclaimants. The non-compete
provision is set to expire in March 2019.

21. From March 20-14 until the November 2018 arrest of the Barge,
Defendants/Counterclaimants used AMECS to capture and treat exhaust emissions from
cargo vessels berthed in Los Angeles and Long Beach harbors, which was the Barge’s
exclusive use and function during that period.

22. On or about October 30, 2018, PTS invoiced Defendants/Counterclaimants
for charter hire of the Barge for November 2018, .Which Defendants/Counterclaimants
paid the same day via Wire transfer to PTS.

23. Several days after wire transfer posted,` PTS issued a return wire for the
November 2018 charter hire of the Barge, and subsequently had the Barge arrested

24. The Barge and AMECS is currently held With substitute custodian, Nielsen

Beaumont Marine, Inc. at its berth in Long Beach, California.

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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAIMANTS RUBEN GARCIA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

 

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25. At the time PTS arrested the Barge in or about November 2018, PTS knew

2 Defendants/Counterclaimants owned AMECS. PTS also knew
3 Defendants/Counterclaimants were actively employing AMECS to service cargo vessels
4 berthed in harbors of Los Angeles and Long Beach.
5 .26. Since the November 2018 arrest of Barge, PTS has refused to permit
6 Defendants/Counterclaimants to use, access, or remove AMECS from the Barge,
7 although duly demanded.
8 27 . On _ or about November 7, 2018, PTS demanded
9 Defendants/Counterclaimants remove AMECS from the Barge.
10 28. PTS knew or had reason to know that uninstalling and offloading AMECS
11 would likely take several weeks. _
12 29. Less than one (l) week after PTS demanded removal of AMECS from the
13 Barge, PTS caused the Barge to be arrested
14 30. At the time of the arrest, PTS knew or had reason to know that
15 Defendants/Counterclaimants had not had the opportunity to uninstall and offload
16 AMECS from the Barge. `
17 31. PTS is aware the Defendants/Counterclaimants were made to forfeit
18 substantial business as a result of the arrest due to Defendants/Counterclaimants’
19 inability to fulfil existing contracts to service cargo vessels with AMECS.-
20 32. PTS had no grounds to believe Defendants/Counterclaimants would seek to
21 move the Barge from the harbors of Los Angeles and Long Beach because
22 Defendants/Counterclai.rnants employed AMECS in those harbors exclusively Indeed,
23 since Defendants commenced the charter of the Barge in March 2014, the Barge has not
24 left this Judicial District.
25 33. PTS had no basis, legal or otherwise, to arrest the Barge with AMECS
26 installed thereon.
27
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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAIMANTS RUBEN GARCIA, ADVANCED
ENVIRONM]ENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

 

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34. PTS has no basis, legal or otherwise, to refuse
Defendants/Counterclaimants permission to access AMECS and remove it from the
Barge.

35. PTS, by and through an affiliated company and/or agent, Aeras
Innovations', LLC (“Aeras”), falsely advertises to Defendants/Counterclaimants’
existing customers, potential future customers, and to the general public (l) it is CARB
approved to capture and treat vessel emissions, (2) it currently has vessel emissions
capture technology for immediate use, and (3) it currently`is capable of operating vessel
emissions capture technology. t

36. lt is,believed PTSknowingly arrested the Barge with AMECS thereon for
the improper purpose of accessing AMECS to reproduce the technology for its financial
benefit and gain, or some other improper and/or illegal purpose.

FIRST CAUSE OF ACTION
(Violations Pursuant to Lanham Act 15 U.S.C. 1125 § 43(a) against PTS)

37. Defendants/Counterclaimants incorporate by reference the allegations of
paragraphs 1-37 of this Counterclaim, as though fully set forth herein.

38. Since the November 2018 arrest of the Barge,
Defendants/Counterclaimants have not had access to the Barge or AMECS, which it
owns.

39. PTS’s false advertising, as set forth, supra, violates § 43(a) of the federal
Lanham Act, 15 U.S.C. 1125.

40. PTS’s false advertising takes place Within the context of interstate
commerce, to wit, the interstate and international ocean transport of goods.

41.` PTS’s false advertising is likely to cause confusion or mistake, or to deceive
as to the affiliation, connection, or association of PTS with CARB-approved vessel
emissions capture providers

42. PTS’s false advertising is likely to cause confusion or mistake, or to deceive

as to whether PTS, or its affiliate company and/or agent, Aeras, is CARB-approved, or

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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAIMANTS RUBEN GARCIA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

 

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sponsored by CARB, to engage in the above-described vessel emissions capture
services.

` 43. PTS’s false advertising to Defendants/Counterclaimants existing and
potential customers has caused and is likely to further cause economic damages to
Defendants/Counterclaimants through loss of business, loss of reputation, or otherwise.

SECOND CAUSE OF ACTION
(Violations Pursuant to California Business & Professions Code
§ 17200 et seq. against PTS)

44. Defendants/Counterclaimants incorporate by reference the allegations of
paragraphs 1-43 of this Counterclaim, as though fully set forth herein.

45. PTS’s false advertising, as set forth in the preceding paragraphs, constitutes
unfair competition as defined in California Business & Professions Code §§ 17200 and
17500. ' 4

46. PTS’s false advertising violates California Business & Professions Code §
17200, et Seq.

47. Defendants/Counterclaimants suffered injury and lost money as a result of
PTS’s unfair competition in the form of lost revenue, lost future revenue, and lost
commercial good will. Defendants/Counterclaimants lost money will be proven with-
reasonable certainty at trial.

48. `PTS’s unfair competition, as set forth above, must be enjoined pursuant to
California Business & Professions Code § 17203.

THIRD CAUSE OF ACTION
(Intentional Interference With Contractual Relations against PTS)

49. Defendants/Counterclaimants incorporate by reference the allegations of
paragraphs 1-49 of this Counterclaim, as though fully set forth herein.

50. Various contracts existed between Defendants/Counterclaimants and third-

party vessel owners for Defendants/Counterclaimants’ use of AMECS to perform

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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAll\/IANTS RUBEN GARCIA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

 

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emissions capture on vessels in the harbors of Los Angeles and Long Beach in exchange
for monetary compensation.

51. PTS knew of one or more of these contracts.

52. By arresting the Barge with Defendants/Counterclaimants’ AMECS
thereon, PTS prevented vDefendants/Counterclaimants from performing on these
contracts

53. PTS’s conduct was intended to disrupt Defendants/Counterclaimants’
performance under the contracts.

54. PTS’s knew that its arrest of the Barge with AMECS thereon would'disrupt
Defendants/Counterclaimants’ performance under the contracts.

55. Defendants/Counterclaimants’ inability to perform under the various
contracts with vessel owners as a result of PTS’s conduct harmed
Defendants/Counterclaimants because they lost revenue thereby-.

FOURTH CAUSE OF ACTION

(Intentional Interference with Prospective Economic Relations against PTS)

56. Defendants/Counterclaimants incorporate by reference the allegations of
paragraphs 1-55 of this Counterclaim, as though fully set forth herein.

`57. Defendants/Counterclaimants were in economic relationships with existing
clients that would have resulted in economic benefit to Defendants/Counterclaimants.

58. PTS knew of these relationships

59. By arresting the Barge with AMECS thereon, PTS intended to disrupt the
relationships between Defendants/Counterclaimants and thev multiple vessel owners
requiring their services.

60. The economic relationships between Defendants/Counterclaimants and
various vessel owners were disrupted as a result of PTS’s conduct.

61. As a result, Defendants/Counterclaimants suffered substantial harm in the
form of lost revenue, lost future revenue, and lost commercial good will.

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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAIMANTS RUBEN GARCIA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

 

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FIFTH CAUSE OF ACTION _

(Negligent Interference with Prospective Economic Relations against PTS)

62. Defendants/Counterclaimants incorporate by reference the allegations of
paragraphs 1-61 of this Counterclaim, as though fully set forth herein.

63. ' PTS knew Defendants/Counterclaimants were in economic relationships
with existing clients that would have resulted in economic benefit to
Defendants/Counterclaimants.

64. ' _PTS knew or should have known that these relationships would be disrupted
if PTS arrested the Barge with the AMECS thereon, - thereby depriving
Defendants/Counterclaimants access and use of AMECS, which they owned.

65.. PTS arrest of the Barge with the'AMECS thereon constituted a failure to
act with reasonable care, which resulted in substantial harm to
Defendants/Counterclaimants.

SIXTH CAUSE OF ACTION
(Conversion against PTS)

66. Defendants/Counterclaimants incorporate by reference the allegations of
paragraphs 1-65 of this Counterclaim, as though fully set forth herein.

67. ' In arresting the Barge with AMECS thereon, PTS wrongfully exercised
control over AMECS, which Defendants/Counterclaimants own.

68. Defendants/Counterclaimants did not consent to' PTS’s conduct as alleged
herein.

' 69. Defendants/Counterclaimants were harmed and have suffered damages in _
an amount to be proven at trial.

70, PTS’s conduct was and is a substantial factor in causing
Defendants/Counterclaimants’ harm.

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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAIMANTS RUBEN GARCIA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

 

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, SEVENTH CAUSE OF ACTI'ON
v (Trespass to Chattels against PTS)
71. Defendants/Counterclaimants incorporate by reference the allegations of
paragraphs 1-7 0 of this Counterclaim, as though fully set forth herein.
7 2. Defendants/Counterclainiants own and have the right to possess AMECS,
73. PTS intentionally interfered with Defendants/Counterclaimants’ use and
possession of AMECS When it arrested the Barge with AMECS installed thereon.
- 74. Defendants/Counterclaimants -did not consent to PTS’s conduct, and was
harmed thereby.
EIGHTH CAUSE OF ACTION
(Unjust Enrichment against PTS)
75. Defendants/Counterclaimants incorporate by reference the allegations of
paragraphs 1-74 of this Counterclaim, as though fully set forth herein.

76. Defendants/Counterclaimants’ payment of $l'18,348.12 for structural and
non-structural improvements to the Barge conferred a benefit on PTS.

77. PTS voluntarily accepted and retains the benefit of such structural and non-
structural improvements to the Barge for which Defendants/Counterclaimants paid.

78. PTS’s retention of the benefit of the improvements to the Barge is
inequitable unless PTS pays to Defendants/Counterclaimants the value of said benefit.

7 9. PTS has been unjustly enriched as a result of the foregoing 7

80. Defendants/Counterclaimants are entitled to damages as a result of PTS’s
unjust enrichment

NINTH CAUSE OF ACTION
(Enforcement of Maritime Lien Against the Barge, in rem)
81. Defendants/Counterclaimants incorporate by reference the allegations of

paragraphs ‘1-80 of this Counterclaim, as though fully set forth herein.

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VERIFIED COUNTERCLAIM OF DEFENDANTS/COUNTERCLAIMANTS RUBEN GARCIA, ADVANCED
ENVIRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

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1 82. Defendants/Counterclaimants’ payment of $118,348.12 for structural and-
2 non-structural improvements to the Barge constituted payment pursuant to a maritime
3 contract.
4 83. Defendants/Counterclaimants have a maritime lien against the Barge for
5 necessaries.
6 84. Defendants/Counterclaimants seek to enforce their maritime lien against
7 the Barge pursuant to Rule C of the Supplemental Rules for Admiralty or Maritime
8 Claims.
9 TENTH CAUSE OF ACTION
10 (Petition for Possession of Maritime Property)
11 85. Defendants/Counterclaimants incorporate by reference the allegations of
12 paragraphs 1-84 of this Counterclaim, as though fully set forth herein.
13 .86. Pursuant to Rule D of the Supplemental Rules of Civil Procedure for
14 Admiralty and Maritime Claims,v Defendants/Counterclaimants are entitled to bring an
15 action for possession of AMECS.
16 87. PTS has continued to exercise possession over AMECS, which rightfully
17 should be under the direction and control of Defendants/Counterclaimants.
18 88. , Defendants/Counterclaimant`s requests and Order from this Court declaring
19 Defendants/Counterclaimants’ right to possession of AMECS.
20 WHEREFO_RE, Defendants/Counterclaimants pray for the following relief with
21 respect to the Counterclaim:
22 A. » Judgment be entered in favor of Defendants/Counterclaimants on this
23 Counterclaim;
24 B. Onl Causes of Action 1-9, damages according to proof at trial;
25 C. PTS’s unfair competition as set forth in Cause of Action 2 be enjoined;
:: D. As to Cause of Action 10, that the -Coui_t determine the possessory rights of
28 the AMECS lon an expedited basis;
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ENviRoNMENTAL GRoUP, LLC, and ADVANCED cLEANUP rEcHNoLoGIEs, rNc.

 

 

 

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E. Attorneys’ fees and costs;

F. Prejudgment interest on all sums that shall be adjudged to be owed

Defendants/Counterclaimants; and

G. Such other and further relief as this Court deems just and proper.

DATED; N b 19, 2018 COX WOOT_T.ON LERNER
mem er GRIFFIN & HANSEN, LLP

By: /s/Neil S. Lerner
NEIL S. LERNER
THOMAS M. FEDELI
Attorneys for
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ADVANCED CLEANUP
TECHNOLOGIES, INC.

 

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VERIFIED COUNTERCLA]l\/I OF DEFENDANTS/COUNTERCLAIMANTS RUBEN GARCIA, ADVANCED
ENVlRONMENTAL GROUP, LLC, and ADVANCED CLEANUP TECHNOLOGIES, INC.

 

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V§. RIFICATIG}
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l. Ruben Garc:ia, dcctare:
iam the President and CEQ ofAdvanced Eavirorsrnemai irrequ LLC ( ’AEG ).
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and Adx»"anced Cl<:anup Tec¥mologies. Inc. r"A€` t § ‘}i lt strong with AE(: and AC'i`I.
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accurate based on my personai knowledge, information and bciiet`.
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g.-_: , Ruben Garcia
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